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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION



 UNITED STATES OF AMERICA,                           )     Civil Action No. 4:17-cv-40011-TSH
                                                     )
             Plaintiff,                              )     Judge Timothy S. Hillman
                                                     )
             v.                                      )
                                                     )
 DAVID L. TOPPIN, et al.,                            )
                                                     )
                                                     )
             Defendants.                             )


                                         Entry of Default

       The defendant, David L. Toppin, having failed to plead or otherwise defend in this action

and, upon the application of the plaintiff United States of America for entry of default for failure

of defendant to plead or otherwise defend, it is hereby:

       ORDERED, ADJUDGED, AND DECREED that the defendant David L. Toppin be

defaulted in this action.



Dated: ________________                                  ________________
                                                         Clerk of the Court




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